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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Rong Zhang, et al.,                             No. CV-21-01079-PHX-SMB
10                  Plaintiffs,                      ORDER
11   v.
12   Voice of Guo Media Incorporated, et al.,
13                  Defendants.
14
15            The Court having reviewed the Motion to Strike filed by Defendants Rule of Law

16   Foundation III Inc. and Rule of Law Society IV Inc. (Doc. 46) and good cause appearing,

17            IT IS HEREBY ORDERED granting Defendants Rule of Law Foundation III
18   Inc. and Rule of Law Society IV Inc.’s Motion to Strike Plaintiffs’ Surresponse and

19   striking the Notice of Supplemental Authority (Doc. 44) filed by Plaintiffs on February

20   17, 2022.

21            Dated this 2nd day of June, 2022.

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